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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                         PENSACOLA DIVISION

STATE OF FLORIDA,

      Plaintiff,

v.                                                  Case No. 3:23-cv-9962

ALEJANDRO MAYORKAS;
et. al,

     Defendants.
_______________________________________



                              NOTICE OF APPEAL


      Pursuant to 8 U.S.C. § 1292(a)(1) and Federal Rule of Appellate Procedure

3, notice is hereby given that all Defendants appeal to the United States Court of

Appeals for the Eleventh Circuit from the Court’s Order of May 16, 2023, ECF

No. 30, entering a preliminary injunction, as well as any and all associated

opinions and orders.
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Date: May 17, 2023                 Respectfully submitted,

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                          CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on May 17, 2023, I electronically filed the
foregoing with the Clerk of the Court using CM/ECF, which provided an electronic
notice and electronic link of the same to all attorneys of record.

                                        By: /s/ Joseph A. Darrow
                                        JOSEPH A. DARROW
                                        Trial Attorney
                                        United States Department of Justice
                                        Civil Division




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